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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

APPLIED MATERIALS, INC.,

NOTICE OF

Plaintiff, APPEARANCE

FOR

-against- NON-PARTY

Westerwood Global USA
LLC

TERRY BURKS,

Civil Action No.

Defendant. 1:14-cv-01346
(GTS/CFH)

 

 

PLEASE TAKE NOTICE, that the undersigned has been retained as Attorney for Non-

Party Westerwood Global USA LLC in the above captioned matter. All papers in this

proceeding must be served upon the undersigned at the address listed below.

I certify that I am admitted to practice in this Court.

Dated: December 29, 2014

COOPER ERVING & SAVAGE LLP
Albany, New York

By: \D CAG | A C Ao Na

David C. Rowley, Esq.
Bar Roll No. 103500

me

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